Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 1 of 6
Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 2 of 6
Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 3 of 6
Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 4 of 6
Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 5 of 6
Case 5:11-cr-04065-MWB-CJW   Document 436   Filed 06/22/12   Page 6 of 6
